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  1                        UNITED STATES DISTRICT COURT

  2                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA

  3    LA JOLLA SPA MD, INC., a          )
       corporation, et al.,              )
  4                                      )       No. 17-CV-1124-MMA-WVG
                 Plaintiffs,             )
  5                                      )
       v.                                )       January 9, 2019
  6                                      )
       AVIDAS PHARMACEUTICALS, LLC, a    )
  7    limited liability company, et al.,)
                                         )
  8              Defendants.             )
       __________________________________)       San Diego, California
  9

 10              TRANSCRIPT OF DIGITALLY RECORDED PROCEEDINGS

 11                           (Telephonic Conference)

 12

 13        BEFORE THE HONORABLE WILLIAM V. GALLO, MAGISTRATE JUDGE

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  1                        (Wednesday, January 9, 2019)

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  3                             P R O C E E D I N G S

  4

  5                THE COURT:   Good morning, Counsel.     This is Bill

  6    Gallo.   We are on the record.      La Jolla Spa versus Avidas

  7    Pharmaceuticals, 17-CV-1124.

  8                If I may have counsel state your appearance for the

  9    record, please.    We'll begin with plaintiff.

 10                MR. RYAN:    James Ryan for plaintiff.

 11                THE COURT:   Morning.

 12                And for defendant?

 13                MS. McGRATH:    Good morning, your Honor.    Jennifer

 14    McGrath for Avidas.

 15                MS. CHOVANES:   Julie Chovanes, pro hac, for Avidas.

 16                THE COURT:   Good morning.

 17                MS. CHOVANES:   Good morning, your Honor.

 18                THE COURT:   All right.   Let me direct a couple of my

 19    opening comments to Mr. Ryan.

 20                Mr. Ryan, we started this case long before you got

 21    involved.    Long before any of these attorneys on the phone got

 22    involved.

 23                Mr. -- the La Jolla Spa was represented by counsel at

 24    the outset.    And our very first interaction was on January 22nd

 25    of 2018, so almost a year ago.
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  1               And plaintiff, at that time, was represented by -- on

  2    my pre-ENE calls, represented by Sean Simpson.        And Defendant

  3    Avidas was represented by Gary Brucker.       That was almost a year

  4    ago.

  5               And then after that, Mr. Pfund kind of got involved

  6    for plaintiff.    Not kind of, but did get involved with

  7    plaintiff.   Mr. Brucker is still on the case.

  8               We went through a series of meetings.       Had an ENE.

  9    Status calls back and forth.      There appeared to be optimism

 10    that the case might even settle way back in -- in April of last

 11    year -- April, May of last year.      We had, as I said, a number

 12    of status calls continuing out the actual ENE.        And then

 13    eventually we had our ENE in -- in February.

 14               So some discovery was done.      An order was issued in

 15    April of last year, setting a discovery deadline.        Fact

 16    discovery deadline of June 18th.      Some discovery was propounded

 17    by both sides.    I see that both sides were unhappy with the way

 18    that discovery went.     But it was -- it was done.

 19               There was no effort to bring to my attention any

 20    discovery disputes.     And in the -- in your ex parte application

 21    to amend the scheduling order, which is document No. 38, filed

 22    on November the 9th, one of the -- attached was a declaration

 23    signed by Mr. Pfund.     And the declaration is dated November

 24    8th.

 25               And in the second paragraph, Mr. Pfund declares that
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  1    he served discovery on defendant on May 16th.        Now, bearing in

  2    mind that that was almost a full month after the -- the case

  3    management conference had occurred and the scheduling order had

  4    issued setting June the 19th as the -- as the deadline for fact

  5    discovery.

  6               So Mr. Pfund waited nearly 30 days to propound any

  7    discovery and then just -- then propounded it at -- at almost

  8    the very last moment, to get discovery returned to him before

  9    the discovery deadline concluded, allowing 30 days for the

 10    defendant to respond to any of the discovery requests.         So

 11    discovery ended on June the 19th.

 12               The next day, on the 20th, Ms. Chovanes, who's now,

 13    apparently, pro hac viced in, who was claiming at that time

 14    would be the attorney of record for Avidas, overlapping

 15    Mr. Bruckner [sic], who was in the process of trying to get out

 16    of representing Avidas, served some untimely responses.           So

 17    they're a day late.

 18               And according to Mr. Pfund's declaration there were

 19    mostly objections and, for the most part, completely

 20    nonresponsive.    That's a quote.    That's June 20th.

 21               It wasn't until July 29th, a full five weeks later,

 22    that Mr. Pfund even attempted to begin the meet-and-confer

 23    process about resolving whatever issues he had with the

 24    discovery.   A full five weeks later.      And he did that not by

 25    picking up the phone, not by sending an e-mail, but according
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  1    to his declaration, he sent a letter to Mr. Bruckner and

  2    Ms. Chovanes.

  3               By this time, July 29th, Bruckner was out of the

  4    case.   He had been allowed to withdraw by Judge Anello on July

  5    the 5th.   And Ms. Chovanes wasn't even in the case.        She had

  6    not filed any notice of appearance.

  7               The point is, nonetheless, that Mr. Pfund, the

  8    attorney for the plaintiff, waited five weeks to even begin

  9    this process of trying to resolve whatever the disputes were.

 10               And customarily and specifically for me and my

 11    chambers rules, any disputes must be brought to the attention

 12    of the Court within 30 days of the dispute arising.

 13               No dispute was brought to the Court's attention

 14    within 30 days, and for good reason.       Mr. Pfund waited, you

 15    know, some 39 -- or 40 days before even initiating the process

 16    to resolve the dispute, which is a necessary prerequisite of

 17    meeting and conferring before the parties can even bring the

 18    dispute to the Court's attention.

 19               Now, I recognize, come July 5th, there's really no

 20    attorney that Mr. Pfund could have corresponded with, talked to

 21    to resolve the dispute.     Bruckner was out and Chovanes wasn't

 22    in, and she wasn't in until yesterday.

 23               Notwithstanding, the court, Judge Anello, having to

 24    issue an OSC for Avidas -- to Avidas to get moving, to get an

 25    attorney to represent them, it wasn't until November that
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  1    Ms. McGrath came on board.

  2                Judge Anello, in his order of December 12th -- that's

  3    document 49 -- denied your leave to file a third amended

  4    complaint.    States -- states at page 6:

  5                "The arrival of new counsel, typically does not

  6                entitle parties to conduct additional discovery or

  7                otherwise set aside valid and binding orders of

  8                the Court, regardless of the efficacy of any new

  9                strategy counsel seeks to follow."

 10                So this is a long preamble, Mr. Ryan, to my next

 11    question.    Why should I even allow any discovery to take place?

 12                Mr. Pfund had the opportunity to do discovery.        He

 13    delayed in getting it going.      Once the discovery was propounded

 14    and returned -- which admittedly was a day late, he sat on his

 15    hands and did nothing to either advise the Court or to

 16    initiate -- expeditiously initiate the meet-and-confer process

 17    with Mr. Bruckner, who was still on the case between June 20th

 18    and July 5th, before Mr. Bruckner was ultimately allowed to

 19    withdraw.    And at no time did Mr. Pfund notify the Court that

 20    there were any disputes.

 21                So why should I allow plaintiff to have a second bite

 22    at the apple, after having been represented by counsel at the

 23    beginning, at the outset, when discovery should have been done

 24    and completed.    And now you're on board.     You came -- you came

 25    on board in November.     Why should I give you and plaintiff the
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  1    opportunity to do all of the discovery you're requesting?

  2    Which, by the way, the request that you've made to do -- to

  3    propound 39 interrogatories and RFAs and conduct a host of

  4    depositions, in light of the miserable past and dereliction of

  5    duty by prior plaintiffs' counsel -- why should I allow any

  6    discovery, let alone the excessive discovery that you're

  7    seeking?

  8                Okay.   That's the question.    I've teed it up for you,

  9    Mr. Ryan.    Have at it, buddy.

 10                MR. RYAN:    You certainly have.   Well, let me -- let

 11    me try to start with a couple parts of that, and see if we can

 12    come to an answer.

 13                THE COURT:   Okay.   Obviously I haven't had the

 14    history in the case your Honor had.       And I appreciate you

 15    detailing it.    I think I do have an understanding of everything

 16    that has happened, at least with what your Honor has recounted.

 17    And there are a series of unfortunate events, I guess, that

 18    have led us to this point.

 19                Just to put things in context in terms of the

 20    discovery that's sought and your Honor's comment that it's

 21    excessive, I do want to indicate that in defendants' initial

 22    disclosures, they identified 17 witnesses who have information

 23    in this case.    And we are seeking to take eight depositions,

 24    five of which overlap with the 17 people that are identified in

 25    the initial disclosures.
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  1               So I think that in the context of what defendants

  2    believe is the scope of this case, we're only seeking a narrow

  3    portion of that.

  4               With respect to written discovery, I recognize that

  5    in terms of the timing and the delayed efforts to meet and

  6    confer and serve discovery, it may be that the ability to move

  7    to compel those -- initial set, it has been waived.         And to

  8    that extent, I'm not sure that there was much work in seeking

  9    those requests.    But that's why the additional requests for

 10    interrogatories have been made.

 11               And, frankly, for both interrogatories and document

 12    requests, I think it's possible to narrow the scope of maybe

 13    even the depositions, if I could get some information that I

 14    haven't yet received, in particular documents.

 15               One -- one of the documents that -- that plaintiff

 16    has not seen and I don't believe any prior counsel have seen

 17    was submitted in connection with defendants' opposition to the

 18    motion for leave.    It was before Judge Anello.      And that is the

 19    license agreement between Avidas and Sky Derma.        Obviously,

 20    that's an important agreement because it appears as though

 21    Avidas sublicensed all of the rights that it received to a

 22    third party, and it appears as though that third party ran with

 23    everything.

 24               Now, that document -- document wasn't specifically

 25    identified in the initial disclosures.       Maybe in the context of
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   1   just the general rubric of, you know, documents involving third

   2   parties, which was identified in the defense initial

   3   disclosures.    But these are the things that we're learning.

   4   And, unfortunately, we have to learn them in the context of

   5   motion practice.     But, nonetheless, it's information that's

   6   been discovered, and we think that it should be pursued.

   7               As far as the timing of everything and as indicated

   8   in the ex parte application, you know, I think we've met the

   9   standard under Rule 16 to ask for an extension of the

  10   discovery.    And while the parties have attempted to put

  11   together a schedule with your Honor and have apparently had

  12   numerous conversations about how the case should be shaped,

  13   things didn't go according to plan.

  14               And whether it was Mr. Bruckner's decision to get out

  15   of the case and all of the things that he put in his

  16   declaration about how he wasn't receiving cooperation from his

  17   client or Mr. Pfund's delay, what we have is that discovery

  18   wasn't conducted.     And I don't see anything from the

  19   defendants' side that said, you know, had -- had things been

  20   done otherwise, you know, we would have complied with

  21   everything, or we would have turned over all of the documents

  22   that we identified in our initial disclosures, or any of the

  23   things that we're now faced with.

  24               So, you know, I -- I -- I recognize that it's beyond

  25   sort of -- left with a situation of I'm trying to make the best
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   1   out of what has happened.

   2               But I think that in terms of discovery and what's

   3   allowed in discovery, I think that plaintiff should be entitled

   4   to conduct the necessary discovery in order to not only support

   5   its claims but also address defendants' defenses.         And if this

   6   case had gone according to plan, it probably would have all

   7   been done and we probably would be looking at having to call

   8   regarding a trial date as opposed to discovery.         But it didn't

   9   happen that way.     And I think that plaintiff should be entitled

  10   to conduct the necessary discovery to be able to do that.           And

  11   my hope would be to send the first round of written discovery

  12   in order to narrow the focus on the depositions because

  13   obviously it is expensive to fly all over the place and take

  14   these depositions.

  15               But when it's witnesses that are identified in

  16   defendants' initial disclosures as people who have information

  17   either relevant to the claims or defenses, I think that

  18   plaintiff should be entitled to take those depositions in

  19   advance of trial.

  20               And also, as I indicated in the joint discovery plan,

  21   you know, one -- one of the major issues that has popped up in

  22   defendants' opposition to the motion for Judge Anello was this

  23   notion that there -- all of the payments were made.         And I

  24   think that that might have been something that -- that came up

  25   at the ENE.    At least that's what I've been told.
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   1               But if it's true that $90,000 worth of payments were

   2   made, then we should be entitled to see evidence that shows

   3   that that actually occurred, rather than rely on an Excel

   4   spreadsheet that identifies payments.       And we haven't been able

   5   to conduct discovery to get behind that information.         That's

   6   the first that we've seen that information, I believe, outside

   7   the context of the ENE.

   8               So if we're able to at least focus on that issue, for

   9   example, we would be able to determine, well, were more than

  10   $90,000 worth of checks cashed or were they not cashed?           My

  11   client's saying that they weren't.       My client's saying that --

  12   that those checks were not received.       Only about $4,000 worth

  13   were received.

  14               And I think that might have been -- if there's an

  15   issue or a sticking point at the last ENE.        But that's

  16   certainly one category that seems -- seems like the parties

  17   should be able to resolve fairly easily with -- with the

  18   benefit of some discovery.

  19               So I don't know if that's an answer to your question

  20   but that would be plaintiffs' position on the issues.

  21               THE COURT:   All right.    Thank you, Mr. Ryan.

  22               Ms. McGrath or Ms. Chovanes, who is going to speak

  23   for Avidas in response?

  24               MS. CHOVANES:    Your Honor -- your Honor, I'll speak.

  25   This is Julie Chovanes.      I'm not -- I'm not quite sure what
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   1   Mr. Ryan's statements mean in the context of the actual facts

   2   of the case.    Mr. Ryan speaks hypothetically.      Well, discovery

   3   was taken.    There is no hypothetical about it.       And his clients

   4   certainly know about all of these people.        They got e-mails

   5   with regard to Sky Derma.      I mean, he's just speaking and

   6   making stuff up, honestly.      This is a nuisance suit.

   7               As we pointed out in our opposition to the motion to

   8   amend the -- the -- or to their motion to -- to amend -- to

   9   present a third amended complaint, as we pointed out in their

  10   discovery, their responses to our discovery were complete.

  11               We asked them, "Give us all of your documents in

  12   support of your allegations."      I was in the case when Mr. Pfund

  13   finally responded to that.      He presented ten bottles of product

  14   at issue.    Not 10,000 bottles.     10 bottles, as we pointed out

  15   in our motion.     All of which were authorized.

  16               That was Mr. Pfund's total presentation.       No

  17   websites.    Nothing.    Just ten bottles and ten things labeled as

  18   invoices.    But we have no idea where these documents -- where

  19   these things came from.

  20               So this entire case, in the least -- and, by the way,

  21   it's on the record that plaintiff had sued other people 40 to

  22   41 times in San Diego and the courts.       So they had --

  23               THE COURT:    What relevance -- what relevance does

  24   that have to this case?      Her litigious behavior?

  25               MS. CHOVANES:    Her litigious behavior has relevance
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   1   to malicious prosecution, which we fully believe is at issue

   2   here once the case gets resolved.       But we fully understand we

   3   need a favorable decision now.

   4               And discovery, by their admission -- by plaintiffs'

   5   admission is in sum total (indiscernible) the bottles of these,

   6   which came from authorized inventory.       It's impossible for them

   7   to have infringed or breached -- or breached the contract

   8   (indiscernible).

   9               And we pointed that out in length in our motion -- in

  10   our opposition to their -- to their motion to amend.         And the

  11   Court denied their motion to amend for the third time.          Now,

  12   this discovery makes no sense.

  13               And, by the way, your Honor, we -- we're on timely

  14   discovery.    Mr. Pfund's statements in his declaration, as well

  15   as Mr. Brucker's statements -- first of all, Mr. Brucker may

  16   have entered into attorney-client privilege, so he couldn't

  17   respond to that without possibly waiving the privilege.           So we

  18   just had to leave all of that lie.       So that's with regard to

  19   their declarations.

  20               Now, the discovery was on time back to them.

  21   Mr. Pfund -- as you pointed out -- very, you know, precisely,

  22   was incredibly diligent.

  23               Mr. Ryan, just now admitted we need discovery.         We

  24   may have waived those nine interrogatories.        Well, because you

  25   waived nine interrogatories doesn't mean we get to come back
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   1   with any more, much less 39, covering the same ground.

   2               And as far as his statement that all of this was new

   3   in the initial disclosure -- or was pointed out in the initial

   4   disclosures and they have to follow up on it, well, it was also

   5   pointed out in e-mails back and forth to his client and from

   6   defendants through the year.

   7               But the -- the plaintiff knew about Sky Derma.         The

   8   plaintiff knew exactly what the arrangement is.         For him to

   9   suggest right now that plaintiff didn't know that is just

  10   wrong.

  11               Again, if look at the facts of the case -- which as

  12   your Honor pointed out, have been going on (indiscernible) for

  13   nearly a year, we do agree on one thing with the plaintiff.           We

  14   agree on one thing.

  15               First -- and, lastly, this renewal would prejudice --

  16   prejudice us immensely.

  17               I mean, Mr. Ryan is pushing for a settlement.         I

  18   don't know of what.     There is no website.     There are no sales.

  19   There is just nothing.      They haven't produced anything.

  20               To keep bothering us with discovery when they already

  21   waived all those rights (indiscernible) litigation.         And we

  22   will pursue that if necessary.       But I don't want to.    My client

  23   isn't in the habit of suing people just because they may have

  24   certain views of the world and how to use their justice system.

  25   But besides that, your Honor, we do agree on one thing.           That
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   1   the time for dispositive motions -- and specifically we would

   2   like to file a summary judgment motion based on the fact that

   3   we have everything the plaintiff has produced and will produce.

   4               And we have nothing to produce because there is

   5   nothing here, and we would like to reopen that time period for

   6   dispositive motions.

   7               And, oddly enough, plaintiff disagreed with our

   8   request but wants to open the time for dispositive motions

   9   anyway.    But they disagree with our request to do so, which

  10   makes no sense.

  11               So, anyway, we would like to -- we haven't had

  12   time -- we have a summary judgment motion we can file by

  13   month's end.    That -- which we would submit that would be the

  14   most efficient way of dealing with this.        And this discovery

  15   that Mr. Ryan wants to prejudice us with this -- it's been

  16   waived more than once already.       That it's taking something

  17   that's not there and stuff that they -- every other

  18   (indiscernible) is there.       It's simply further harassment.

  19               Thank you.

  20               THE COURT:    All right.   Mr. Ryan, any other comments

  21   you would like to make?

  22               MR. RYAN:    Yes.   Thank you, your Honor.

  23               So with respect to the summary judgment motion,

  24   defendant has not -- other than in the conference of this call,

  25   sought leave to extend the deadlines to do that, which is what
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   1   I identified it by, the joint discovery plan.        If they wanted

   2   to file a summary judgment motion, they could have done it at

   3   any time.    Or if they wanted to ask for relief, they could have

   4   done that as well.

   5               But the notion that plaintiff would be required to

   6   respond to a summary judgment motion without having the benefit

   7   of discovery, I think, is not supported under the federal

   8   rules.   I think that if they are pushing to do this, they want

   9   us to be able to respond to the motion and not have the ability

  10   to conduct discovery, I just think that's not permitted.

  11   There's a mechanism to deal with that.

  12               Then also briefly with respect to the --

  13   Ms. Chovanes's statement about the ten products -- you know,

  14   this case began because my client discovered the products were

  15   being sold after the agreement was purportedly terminated.

  16               And, yes, while I believe only ten or 15 products

  17   were purchased online, that is the indication that something

  18   was wrong.    And my client shouldn't be required to go out and

  19   purchase every product on the market to -- to determine what

  20   her damages are.     I think that in this situation that was the

  21   indication that would lead my client to file a lawsuit.

  22               And now, because all of the information is housed

  23   with the defendant in terms of the money that was received, the

  24   agreements that were made, the royalties paid if any, this is

  25   why we need to conduct discovery.
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   1               We don't otherwise have that information in our

   2   possession, as to the sales.      We don't otherwise understand

   3   why, when the agreement was terminated, why the inventory

   4   wasn't returned as required by the contract.        And that is why

   5   we are here to conduct discovery.       So I just want to address

   6   those two points, your Honor.

   7               THE COURT:   All right.    Thank you.

   8               My feeling and thoughts about this case are as

   9   follows:

  10               One, that Judge Anello's denial of plaintiffs' motion

  11   to file a third amended complaint is certainly not a decision

  12   on the merits of the allegations that were -- that were alleged

  13   in that proposed third amended complaint.        And everyone has his

  14   order and can read it and interpret it for themselves.          I

  15   interpret it not as a decision on the merits.

  16               The -- a party has to make a decision -- a plaintiff

  17   has to make a decision if a plaintiff feels that -- that it's

  18   been wronged in some way and thinks they need an attorney.          And

  19   they go out and hire an attorney and retain an attorney.

  20               and I assume, in this case, that careful

  21   consideration was made by Ms. Goldman -- or Ms. York when she

  22   initially hired and retained counsel, whether it was counsel

  23   that first appeared on the phone way back in January of last

  24   year for a pre-ENE call, Mr. Simpson, or whether it was

  25   Mr. Pfund.    She -- she made that -- that very -- I'm
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   1   assuming -- careful, deliberative decision to retain those

   2   attorneys.    And then she should be more or less stuck with the

   3   decisions and actions of those attorneys.        They're her agents.

   4               I know Ms. York.    I've had her in a prior case, and I

   5   have had her here at the ENE.      She is no -- no shrinking

   6   violet.    She speaks her mind.    She asks probing questions.      She

   7   is challenging.     She challenged me in the prior case and here

   8   at the ENE in February of last year, and made no bones about

   9   her views.    She is a strong-willed individual.       And I have got

  10   to believe that when she retained Simpson and/or Mr. Pfund,

  11   that she made it clear to them what she expected.         And I have

  12   to also believe that she just did not say, "Here, you're

  13   retained.    Let me know how it goes in the end."

  14               I -- knowing her the way I do, I believe she had her

  15   finger on the pulse every step of the way and was actively and

  16   intimately involved in the litigation in the -- the opening

  17   months back in 2018.     I have to believe that

  18               And, Mr. Ryan, I'm not going to ask you for your

  19   thoughts or impressions.      So I'm going to rely solely upon

  20   mine.

  21               And so having understood what the requirements are

  22   and were back then and the deadlines that were imposed back

  23   then and either choosing, or not, to spur her attorneys on to

  24   get moving and to get the work done, to seek the discovery, to

  25   make appropriate inquiries, to insist that the defendant
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   1   respond appropriately when and if they think that there was

   2   unjustified objections or nonresponsive responses to the

   3   discovery, she is -- is stuck with the consequences of that.

   4               Discovery was open.    Discovery was closed.     No effort

   5   to bring to the Court's attention any disputes was -- was

   6   attempted by Mr. Pfund, nor by Mr. Bruckner, if he was unhappy

   7   with the plaintiff's discovery.

   8               And I'm reading the joint discovery plan.       And this

   9   defendant now, Avidas, is contending that no discovery needs to

  10   be done.    And I certainly understand that because, you know,

  11   the plaintiff has the burden.      And if the plaintiff doesn't

  12   have any evidence, then, you know, it's going to be a tough

  13   uphill battle for the plaintiff.

  14               I'm also very mindful of what you said, Mr. Ryan, in

  15   your -- your rebuttal remarks.

  16               Should the defendant Avidas file a summary judgment

  17   motion under Rule 56(d), if you can't respond to that motion

  18   because you don't have the discovery, you would move with Judge

  19   Anello to get the discovery.

  20               I don't know what Judge Anello would do.       He may say,

  21   "Hey, you had your chance way back in 2018.        You blew it,

  22   Mr. Ryan.    Not you personally, but prior counsel.       And, too

  23   bad.   There's rules in place.     There's schedules in place to

  24   get the parties moving forward, to get this -- to get the case

  25   resolved and that didn't happen."
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   1               Now, that's not to say that the defendant isn't

   2   without fault here.     When -- when Bruckner pulled out -- or was

   3   allowed to pull out because of disagreements with Avidas's

   4   principal on July the 5th, it was made clear that the

   5   corporation couldn't represent itself and needed an attorney,

   6   and it took four months and the threat of a sanction for Avidas

   7   finally to retain and have counsel, make an appearance.           And

   8   that was in November.

   9               So there was a four-month delay there in which

  10   anything could have happened.      Nothing could have happened

  11   during that four-month period.

  12               So part of the delay in getting to this point is due

  13   in part to Avidas's dereliction in not having an attorney on

  14   board that can represent it.      Now it does.    And plaintiff has

  15   an attorney that seems to be on top of things as well.

  16               Would Judge Anello be setting himself up for a Ninth

  17   Circuit reversal, one, if I don't allow any discovery, and,

  18   two, when Mr. Ryan makes his motion that he needs some

  19   discovery in order to respond to the summary judgment motion,

  20   and Judge Anello says, you know, "Too bad, you had -- you had

  21   your shot, and blew it."      And then Mr. Ryan, on behalf of La

  22   Jolla Spa, appeals to the Ninth Circuit, is Judge Anello

  23   setting himself up and, ultimately, all of you for a reversal,

  24   only to have this thing come bouncing back in a year, and we're

  25   right back at where we ought to be right now and that is doing
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   1   discovery.

   2               Now, I don't know about you, Ms. Chovanes or

   3   Ms. McGrath, but I think in the interest of your client who,

   4   from what I've read over the last year and what I'm reading

   5   now, is on a shoestring budget, barely afloat, got no money.

   6   The last thing that I think your client would want is having to

   7   have -- to retain an attorney to respond to an appeal or any

   8   summary judgment motions and the efforts that go into that,

   9   which ultimately will happen.

  10               So I think the more prudent course is to allow some

  11   discovery.    Not -- not the -- the discovery that Mr. Ryan is

  12   suggesting that he needs, that go well beyond what's allowed in

  13   the rules.    And there's nothing in this case that would even

  14   lead me to believe that as -- the relaxation in these -- in the

  15   numbers and the limitations provided by the rules is justified.

  16   Certainly not on this record.

  17               Because I do believe that Ms. York, on behalf of La

  18   Jolla Spa and La Jolla Spa the party, needs to understand that

  19   there are consequences for prior counsel's failure to do his

  20   job.   And, you know, the sins of prior counsel are now visited

  21   upon you, Mr. Ryan.     And you're going to have to make due with

  22   the -- with the limitations that I'm going to set.         And you're

  23   going to have to be laser-like focused in your discovery

  24   requests to get exactly what you need.

  25               So I'm going to allow some discovery.       I'm going to
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   1   put this on an expedited schedule.       I'm going to limit the --

   2   the discovery as well.      I'm going to limit the time in which

   3   the parties have to respond, as I did previously, back in my

   4   2018 scheduling order in April.

   5               I'm going to limit the time in which any disputes

   6   must be brought to my attention.       And both sides are going to

   7   have to turn their -- their attention to this case.         I know

   8   you've got other cases that you're working on but this case is

   9   going to be litigated.      It's a 2017 case.    It's now 2019.    This

  10   case should have been wrapped up a long time ago.         And so we're

  11   going to -- we're going to move it along.        But, Mr. Ryan,

  12   you're going to be hamstrung in the requests you can make for

  13   discovery, and you are going to have to live with those

  14   limitations.    And so you're going to have to be very, very

  15   precise in what you're asking for.

  16               And, Ms. Chovanes or Ms. McGrath, you're going to

  17   have to respond to discovery.      You have a right to propound

  18   discovery, too.     And both sides are going to have to be -- to

  19   be prepared to respond quickly, efficiently, meet and confer

  20   immediately if there are disputes, and bring those disputes

  21   immediately to my attention by jointly calling the Court and

  22   advising the Court that there is a dispute.

  23               I would certainly hope that all counsel -- because

  24   all of you are coming in here in the fourth quarter to try to

  25   pull out a win for your team, and you're doing it under trying
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   1   circumstances.     But I would hope that all counsel can work

   2   cooperatively together, get what you need, get what's required,

   3   limit the -- the disputes and the objections, pick your

   4   battles.    Because if -- if I am -- am forced to intervene and

   5   resolve what I determine to be meritless, ticky-tack kind of

   6   disputes, then the party who is presenting the problem may find

   7   that my position changes with respect to the kind of discovery

   8   or the extent of discovery that may be allowed.

   9               So I am cautioning both sides, whether you like the

  10   decision I'm making, the limits I'm placing, or not, to work

  11   with each other professionally, civilly, courteously.         To get

  12   this case to a position where you can file, if you think it's

  13   appropriate, a summary judgment motion, to where we can come

  14   back in here at a settlement conference and resolve the case.

  15               And if neither of those bring an end to the case -- a

  16   summary judgment motion or a settlement conference -- be in a

  17   position to try the case.

  18               So I am going to limit discovery in this fashion.

  19   The parties will be able to propound a maximum of ten

  20   interrogatories.     The parties will have a maximum ten RFAs.

  21   The parties will have a maximum of 10 requests for production

  22   of documents.    The parties may take a maximum of five

  23   depositions.

  24               And I am going to set approximately three months from

  25   now, April the 8th, as the deadline for fact discovery.           So
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   1   that means that the discovery needs to get out immediately.

   2   I'm going to allow the parties the maximum of 15 days in which

   3   to respond to discovery.

   4               Any disputes must be brought to my attention within

   5   one week of the dispute arising.       You can look up my chambers

   6   rules and figure out for yourself what that definition means,

   7   "the dispute arising."

   8               Expert designations must be made no later than April

   9   the 22nd.    Rebuttal expert designations, if there are any, must

  10   be made no later than May the 6th.

  11               And, by the way, all of this will come out in a

  12   scheduling order, which you'll have later today or at the

  13   latest tomorrow.

  14               Expert reports must be made by May the 20th.        No

  15   later than May 20th.     Rebuttal reports must be provided no

  16   later than June the 3rd.      Expert discovery concludes on June

  17   17th.   And pretrial motions must be filed -- that would be

  18   summary judgment motions, or any other kind of dispositive

  19   motion -- no later than July the 15th.

  20               We will have a settlement conference after fact

  21   discovery has concluded, on April the 22nd, which coincides

  22   with the day you must designate experts, at nine o'clock in the

  23   morning.    So April 22 at 9:00 a.m.

  24               And your settlement conference statements are due no

  25   later than a week before that, on April the 15th.         So I'm
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   1   hopeful that with laser-like focused discovery that you'll be

   2   able to come in on April 22 and get this case resolved.           Or

   3   have it resolved before the settlement conference.         I'm going

   4   to encourage the attorneys to exercise some top-down leadership

   5   with your respective clients, to be fully engaged in ongoing

   6   discussions with each other.      As you get new evidence, new

   7   discovery that supports or undermines your position, you get on

   8   the phone with your client, talk about it, how it changes your

   9   outlook on the case.     And then get on the horn with the other

  10   side and -- and have ongoing continuous discussions about

  11   resolving the case.      And never miss an opportunity to -- to

  12   have a discussion that could result in a resolution.

  13               I thought that we might have had one a year ago.           For

  14   one reason or another it didn't work out.        Here you're getting

  15   another opportunity to get this case resolved.

  16               So, Counsel, I would typically ask for your -- your

  17   suggestions or input or comments about my decision and

  18   particularly on scheduling but I'm not going to do that because

  19   there's -- you know, something short of an absolute, you know,

  20   anticipated disaster coming your way, I'm not likely to change

  21   any of these dates or my limitations on discovery but --

  22               MS. CHOVANES:    Your Honor -- sorry.    May I just ask

  23   for clarification then?

  24               THE COURT:    Sure.

  25               MS. CHOVANES:    So we have the ten -- the ten -- the
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   1   limit of ten on the written discovery.

   2               THE COURT:   Yes.

   3               MS. CHOVANES:    The standard (indiscernible) discovery

   4   pool.

   5               It seems to me that in recognition of the potential

   6   costs of the depositions -- because if we go out there, as the

   7   evidence indicates, and everybody says, "No, we didn't sell

   8   these things.    It's going to add costs of thousands to my

   9   client, which I think is unfair.       So I'm only asking that the

  10   others -- that that be possibly modified, to prevent a very

  11   limited amount of written discovery on those deponents' turfs,

  12   or maybe even take a deposition by written interrogatories

  13   precisely to limit the costs.

  14               And we think we've shown due cause in our brief that

  15   there is no evidence and there won't be any evidence because

  16   they already said they gave us everything.

  17               So I just ask for that modification.       And we would

  18   love to file a summary judgment motion right after that.          Right

  19   after the written discovery has been hashed out and done.

  20               THE COURT:   Ms. Chovanes, I am not going to issue

  21   such an order.

  22               MS. CHOVANES:    Okay.

  23               THE COURT:   One, I'll let you meet and confer with

  24   Mr. Ryan to see if there are some accommodations that can be

  25   made that can perhaps mitigate the expenses that your client
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   1   may incur.

   2               But this is a lawsuit.Avidas Pharmaceuticals is a

   3   corporation.    And I understand that there are expenses

   4   involved.    And I understand that there are corporations that

   5   are burgeoning with cash.      And I understand that there are

   6   corporations that are in -- corporations in name only and the

   7   coffers are empty.

   8               But I'll allow you and Mr. Ryan to speak offline

   9   about accommodations.     The parties have now made a decision

  10   that some discovery -- limited discovery, as it is, is

  11   appropriate.    Depositions are a -- an important aspect of

  12   any -- any discovery plan.

  13               And I'm going to allow Mr. Ryan the opportunity to do

  14   discovery, as hamstrung as he is on this now, in a way that he

  15   thinks is the most effective and efficient method for -- for

  16   his client and for him to pursue.

  17               And I'm not going to, you know, knee-jerk a decision

  18   that it be a deposition by written questions or some other

  19   method of -- like a telephonic or video deposition.         I'm not

  20   going to do that right yet.

  21               You two can talk about that, and I'm sure that

  22   reasonable minds ultimately will prevail.

  23               MS. CHOVANES:    Your Honor -- your Honor, I'm from

  24   Philadelphia.    And given the Eagles, I had to try.       So thank

  25   you.
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   1               THE COURT:    Well, I think the Eagles are going to

   2   beat the Saints.

   3               MS. CHOVANES:    Thank you.     Thank you, your Honor.

   4               THE COURT:    I believe in Nick Foles.

   5               MS. CHOVANES:    Awesome.      Thank you.

   6               THE COURT:    So I think the Saints are a beatable

   7   team.   The Steelers almost beat them on the Saints' home turf.

   8   I think the other Pennsylvania team is going to finish what the

   9   Steelers couldn't do.

  10               MS. CHOVANES:    Yay.

  11               THE COURT:    But don't -- I don't want you to take

  12   away that I'm somehow biased in your favor, Ms. Chovanes, by

  13   that --

  14               MS. CHOVANES:    No.    No.    Your Honor, it's a merits

  15   decision.

  16               MS. McGRATH:    I would just like (indiscernible) the

  17   championship games to be in Los Angeles.          I think that would be

  18   very exciting for our city.

  19               THE COURT:    Well, that's not going to happen.

  20               (Laughter.)

  21               THE COURT:    I don't think that's going to happen.

  22   One of those teams may make it but not both of them.          And I

  23   don't think the Rams are going to make it.

  24               MS. McGRATH:    No.    Okay.

  25               THE COURT:    I think the Chargers might.
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   1               MS. CHOVANES:    Really?   You're not mad at them for

   2   leaving?

   3               THE COURT:    I harbor no ill will for the Chargers

   4   leaving.    In fact, I am glad they're not here.

   5               (Laughter.)

   6               THE COURT:    I'm not a Charger -- I never was a

   7   Charger fan.

   8               MS. CHOVANES:    But (Indiscernible.)

   9               THE COURT:    Oh, I love Philip Rivers.     I hope he -- I

  10   hope he -- I hope he gets (indiscernible) before he decides to

  11   cut the cleats.

  12               MS. CHOVANES:    Yeah.   Yeah.

  13               THE COURT:    Now, one final point.

  14               With respect to the previous discovery that was

  15   propounded way back when, which included, you know, request for

  16   production of documents or interrogatories or RFAs, those --

  17   those numbers do not count in the ten RFAs or interrogatories

  18   or requests for productions that I have just set here today.

  19               And whether Mr. -- Mr. Ryan is prepared to waive any

  20   objections that may have -- or any disputes that the plaintiff

  21   may have, I was reaching that conclusion.        And without having

  22   said it, I think you understood that that was where I was

  23   going.   That any objections are -- are waived.

  24               So it is as if those -- that discovery did not

  25   happen, in terms of calculating the -- the limits here today.
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   1   Does that --

   2               MR. RYAN:    Thanks for clarifying.

   3               MS. CHOVANES:    (Indiscernible.)

   4               THE COURT:   All right.    All right.   Counsel, anything

   5   else at this point?

   6               MS. CHOVANES:    No, not from the defendant, your

   7   Honor.   Thank you.

   8               THE COURT:   Okay.   So you -- you've got a lot of work

   9   to do and little time to do it, so no time to waste.

  10               MR. RYAN:    Understood.

  11               MS. CHOVANES:    Yes, sir.

  12               THE COURT:   All right.    And, Counsel, I can't stress

  13   enough that the time limits to respond to discovery are 15

  14   days.    The time limits to bring a dispute are seven days.        If

  15   you bring a dispute to my attention on Day 8 or afterwards, I'm

  16   not going to entertain it and the status quo will remain.

  17               And so if you get -- if a dispute arises, you need to

  18   immediately -- and I -- I mean that.       Immediately get on the

  19   phone with the other side and hash it out, and do your best to

  20   hash it out.    And then if you can't, then you need to pick up

  21   the phone and call chambers jointly.       You need to put in --

  22               MS. CHOVANES:    Yes.

  23               THE COURT:   You need to put in a good faith effort to

  24   try to resolve any disputes.        I don't want -- nor do I want to

  25   believe -- well, I called the other side.        I told them I had a
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   1   dispute.    They said no.    Okay, that was our good faith effort.

   2   That will not be a good faith effort.       You really have to roll

   3   up the sleeves and try to work through your disputes and see if

   4   you can resolve them.

   5               And then if you can't, you need to get on the phone

   6   with me within that one-week time period.        Okay?

   7               MS. CHOVANES:    Your Honor, I just ask that counsel

   8   recognize that I'm on the East Coast.

   9               THE COURT:   All right.

  10               MS. CHOVANES:    We had some issues with that.      We had

  11   some issues with that earlier.        (Indiscernible)

  12               THE COURT:   All right.     I understand there's a

  13   three-hour time difference.      I get that.    But days are days and

  14   hours are hours.

  15               MS. CHOVANES:    Right.    I'm not answering the phone --

  16   I'm not answering the phone at 7:00 p.m., your Honor.         That's

  17   unfair.

  18               THE COURT:   All right.     Well, don't expect Mr. Ryan,

  19   then, to be answering the phone at 5:00 a.m.

  20               MR. RYAN:    Actually, I'm up at that time

  21   (indiscernible), your Honor.

  22               THE COURT:   Okay.   So you should each allow for

  23   allowances given the time difference and work accordingly.

  24   Business all over the world gets done in various time zones.

  25   It's not impossible.
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   1               All right.   All right.    Counsel, happy new year.

   2   Good luck.

   3               THE ATTORNEYS:    Thank you, your Honor.     Happy new

   4   year.

   5               THE COURT:   All right.    Take care.

   6               UNIDENTIFIED ATTORNEY:     Bye.

   7               THE COURT:   Bye.

   8               (Conclusion of proceedings.)

   9

  10                                   --oOo--

  11   I certify, by signing below, that the foregoing is a correct

  12   stenographic transcript, to the best of my ability, of the

  13   digital recording of the audio proceedings had in the

  14   above-entitled matter this 10th day of January, 2019.         A

  15   transcript without an original signature or conformed signature

  16   is not certified.     I further certify that the transcript fees

  17   and format comply with those prescribed by the Court and the

  18   Judicial Conference of the United States.

  19
                   /S/ Amanda M. LeGore
  20                  ____________________________________

  21           AMANDA M. LeGORE, RDR, CRR, CRC, FCRR, CACSR 14290

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